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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO
                                  JUDGE CHARLOTTE N. SWEENEY


   Civil Action:             21-cv-02063-CNS-SBP               Date: November 2, 2023
   Courtroom Deputy:         Julie Dynes                       Court Reporter: Sarah Mitchell

                   Parties                                                  Counsel

   CITY OF FORT COLLINS                                                  Case Collard
                                                                          John Duval
                                                                         Maral Shoaei
                                                                        Andrea Wechter
                        Plaintiff/Counter Defendant

   v.

   OPEN INTERNATIONAL LLC                                                Kevin McAdam
   OPEN INVESTMENTS LLC                                                 Alexandria Pierce
                                                                          Paul Swanson
                                                                        Alexander White
                        Defendant/Counter Claimant


                                      COURTROOM MINUTES


   JURY TRIAL DAY NINE

   Off record: ORDERED: Lunch to be provided to jurors today and throughout deliberations.

   Court in Session: 8:24 a.m.

   Jury instructions reviewed and ruled upon as stated on the record.

   Jury present.

   Defense witness, Tom Hickman, called and sworn.

   9:07 a.m.       Direct examination of Mr. Hickman by Mr. McAdam.

   9:18 a.m.       Cross examination of Mr. Hickman by Ms. Wechter.
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   Defense rests.

   ORDERED: Evidence is CLOSED.

   Jury excused.

   Argument given on Plaintiff’s Motion for Judgment as a Matter of Law Under Rule 50 by Ms.
   Wechter and Mr. Swanson.

   As outlined on the record, it is

   ORDERED: Plaintiff’s Motion for Judgment as a Matter of Law Under Rule 50 is
            DENIED in part and GRANTED in part.

   Argument given on Defendant’s Motion for Judgment as a Matter of Law Under Rule 50 by Mr.
   Swanson and Ms. Wechter.

   As outlined on the record, it is

   ORDERED: Defendant’s Oral Motion for Judgment as a Matter of Law Under Rule 50
            and written motion at ECF No. 282 is DENIED in part and GRANTED in
            part.

   9:49 a.m.        Court in recess.
   10:35 a.m.       Court in session.

   Discussion held on part one of the jury instructions.

   Jury instructed.

   11:04 a.m.       Closing argument by Mr. Collard.

   11:48 a.m.       Closing argument by Mr. Swanson.

   12:30 p.m.       Rebuttal closing argument by Mr. Collard.

   Bailiff sworn. Jury excused to begin deliberations.

   12:41 p.m.       Court in recess.
   3:08 p.m.        Court in session.

   Jury deliberation question reviewed.

   Jury present.
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   Jury deliberation question answered.

   Jury excused to continue deliberations.

   3:14 p.m.      Court in recess.
   3:51 p.m.      Court in session.

   Discussion held on jury instructions and deliberation question.

   Court in Recess: 3:55 p.m.             Trial continued.            Total time in Court: 03:41

   Clerk’s note: Jury left at 5:00 p.m. and will continue deliberations tomorrow at 8:00 a.m.
